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                EXHIBIT II
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                                                                                       USOO9603284B2


(12) United States Patent                                             (10) Patent No.:                 US 9,603.284 B2
       Lyon                                                           (45) Date of Patent:                       Mar. 21, 2017
(54) FLUID HEAT EXCHANGER CONFIGURED                             (56)                    References Cited
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(72) Inventor: Geoff Sean Lyon, Calgary (CA)                                                (Continued)
(73) Assignee: CoolT Systems, Inc., Calgary (CA)                              FOREIGN PATENT DOCUMENTS
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(*) Notice:        Subject to any disclaimer, the term of this   JP               06120387 A * 4, 1994 ........... HOL 23,473
                   patent is extended or adjusted under 35                                  (Continued)
                   U.S.C. 154(b) by 0 days.
(21) Appl. No.: 14/283,163                                                        OTHER PUBLICATIONS
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(22) Filed:        May 20, 2014                                  No. 3179086 (Utility Model Application No. 2012-002117); Eng
                                 O      O                        lish translation included; 7 pages.
(65)               Prior Publication Data                                                   (Continued)
       US 2014/O251582 A1     Sep. 11, 2014
                                                                 Primary Examiner — Leonard R Leo
                                                                 (74) Attorney, Agent, or Firm — Ganz Pollard LLC
           Related U.S. Application Data                         (57)                  ABSTRACT
(63)    Styalif apply N                2.76. filed on            A fluid heat exchanger can define a plurality of microchan
        lug. 11,      , now at. O. S., f 40.33 U.                nels each having a first end and an opposite end and
                          (Continued)                            extending Substantially parallel with each other microchan
                                                                 nel. Each microchannel can define a continuous channel
(51) Int. Cl.                                                    flow ppath between its respective
                                                                                           p        first end and opposite
                                                                                                                    pp     end.
       H05K 7/20               (2006.01)                         A fluid inlet opening
                                                                                pen1ng for the ppluralityy of microchannels can
       HOIL 23/2473            (2006.01)                         be positioned between the microchannel first and opposite
       F28D IS/00               2006.O1                          ends, a first fluid outlet opening
                                                                                             pen1ng from the ppluralityy of
(52) U.S. Cl.                                                    microchannels can be positioned adjacent each of the micro
     CPC ......... H05K 7/20254 (2013.01); F28D 15/00            channel first ends, and an opposite fluid outlet opening from
                 (2013.01); HOIL 23/473 (2013.01); HOIL          the plurality of microchannels can be positioned adjacent
                           s        2924/OOO2 (201301)           each of the microchannel opposite ends such that a flow of
(58) Field of Classification Search                              heat transfer fluid passing into the plurality of microchannels
       CPC ........... H05K 7/20218: H05K 7/20254; H05K          flows along the full length of each of the plurality of
                   7/20263; H05K 7/20272; H01L 23/4735;
                                                                 microchannels outwardly from the fluid inlet opening.
                                                                 Related methods are disclosed.
                                                HO1L 23f473
                          (Continued)                                            32 Claims, 2 Drawing Sheets
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                                                    US 9,603.284 B2
                              1.                                                                      2
     FLUID HEAT EXCHANGER CONFIGURED                                   generating component contact region where the heat gener
          TO PROVIDEA SPLT FLOW                                        ating component contacts the heat spreader plate; introduc
                                                                       ing a flow of heat exchanging fluid to the fluid heat
            CROSS REFERENCE TO RELATED                                 exchanger, urging the flow of heat exchanging fluid through
                      APPLICATIONS                                5    the fluid inlet into the plurality of microchannels first to a
                                                                       microchannel region between the ends of the microchannel;
  This application claims the benefit of and priority pending          and, diverting the flow of heat exchanging fluid into a
U.S. patent application Ser. No. 12/189,476, filed on Aug.             plurality of subflows that each flow away from the other, a
11, 2008, which claims benefit of and priority to U.S.                 first of the plurality of subflows flowing from the fluid inlet
                                                                  10   toward the first fluid outlet and a second of the plurality of
Provisional Patent Application No. 60/954.987, filed on
Aug. 9, 2007, each of which patent applications is hereby              subflows flowing from the fluid inlet toward the opposite
incorporated by reference in its respective entirety, for all          fluid outlet.
purposes.                                                                It is to be understood that other aspects of the present
                                                                       invention will become readily apparent to those skilled in
                           FIELD                                  15   the art from the following detailed description, wherein
                                                                       various embodiments of the invention are shown and
   The present invention is directed to a fluid heat exchanger         described by way of illustration. As will be realized, the
and, in particular, a fluid heat exchanger for an electronics          invention is capable for other and different embodiments and
application Such as in a computer system.                              its several details are capable of modification in various
                                                                  2O   other respects, all without departing from the spirit and
                      BACKGROUND                                       Scope of the present invention. Accordingly the drawings
                                                                       and detailed description are to be regarded as illustrative in
   Fluid heat exchangers are used to cool electronic devices           nature and not as restrictive.
by accepting and dissipating thermal energy therefrom.
   Fluid heat exchangers seek to dissipate to a fluid passing     25         BRIEF DESCRIPTION OF THE DRAWINGS
therethrough, thermal energy communicated to them from a
heat Source.                                                              Referring to the drawings wherein like reference numerals
                                                                       indicate similar parts throughout the several views, several
                        SUMMARY                                        aspects of the present invention are illustrated by way of
                                                                  30   example, and not by way of limitation, in detail in the
   In accordance with a broad aspect of the invention, there           figures, wherein:
is provided a fluid heat exchanger comprising: a heat                     FIG. 1 is a top plan view of a fluid heat exchanger
spreader plate including an intended heat generating com               according to one embodiment of the invention, with the top
ponent contact region; a plurality of microchannels for                cap cut away to facilitate viewing internal components;
directing heat transfer fluid over the heat spreader plate, the   35      FIG. 2 is a sectional view along line II-II of FIG. 1;
plurality of microchannels each having a first end and an                 FIG. 3 is a sectional view along line III-III of FIG. 1;
opposite end and each of the plurality of microchannels                   FIG. 4 is an exploded, perspective view of a fluid heat
extending Substantially parallel with each other microchan             exchanger according to another embodiment of the inven
nel and each of the plurality of microchannels having a                tion; and
continuous channel flow path between their first end and          40     FIG. 5 is a top plan view of the fluid heat exchanger of
their opposite end; a fluid inlet opening for the plurality of         FIG. 4 assembled with its top cap removed.
microchannels and positioned between the microchannel
first and opposite ends, a first fluid outlet opening from the              DESCRIPTION OF VARIOUS EMBODIMENTS
plurality of microchannels at each of the microchannel first
ends; and an opposite fluid outlet opening from the plurality     45      The detailed description set forth below in connection
of microchannels at each of the microchannel opposite ends,            with the appended drawings is intended as a description of
the fluid inlet opening and the first and opposite fluid outlet        various embodiments of the present invention and is not
openings providing that any flow of heat transfer fluid that           intended to represent the only embodiments contemplated
passes into the plurality of microchannels, flows along the            by the inventor. The detailed description includes specific
full length of each of the plurality of microchannels in two      50   details for the purpose of providing a comprehensive under
directions outwardly from the fluid inlet opening.                     standing of the present invention. However, it will be
   In accordance with another broad aspect of the present              apparent to those skilled in the art that the present invention
invention, there is provided a method for cooling a heat               may be practiced without these specific details.
generating component comprising: providing a fluid heat                   With reference to FIGS. 1 to 3, a fluid heat exchanger 100
exchanger including a heat spreader plate; a plurality of         55   is shown. Fluid heat exchanger 100 includes a heat spreader
microchannels for directing heat transfer fluid over the heat          plate 102, an arrangement of fluid microchannels 103
spreader plate, the plurality of microchannels each having a           defined between walls 110, a fluid inlet passage 104, and a
first end and an opposite end and each of the plurality of             fluid outlet passage 106. A housing 109 operates with heat
microchannels having a continuous channel flow path                    spreader plate 102 to form an outer limit of the heat sink and
between their first ends and their opposite ends; a fluid inlet   60   to define fluid flow passages 104, 106.
opening for the plurality of microchannels and positioned                 As shown in FIGS. 2 and 3, in use the heat exchanger 100
between the microchannel first and opposite ends, a first              is coupled to a heat source 107, such as an electronic device,
fluid outlet opening from the plurality of microchannels at            including, but not limited to a microchip or an integrated
each of the microchannel first ends; and an opposite fluid             circuit. The heat exchanger may be thermally coupled to the
outlet opening from the plurality of microchannels at each of     65   heat source by a thermal interface material disposed ther
the microchannel opposite ends; mounting the heat spreader             ebetween, by coupling directly to the surface of the heat
plate onto the heat generating component creating a heat               Source, or by integrally forming the heat Source and at least
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the heat spreader plate 102 of the fluid heat exchanger. The           course, other microchannel wall dimensions are possible.
heat exchanger 100 may take various forms and shapes, but              The microchannel walls 110 may be spaced apart by a
heat spreader plate 102 is formed to accept thermal energy             separation dimension range of 20 microns to 1 millimeter,
from heat source 107. Heat spreader plate 102 includes an              depending on the power of the heat source 107, although
intended heat generating component contact region 102b                 other separation dimensions are contemplated.
positioned in a known location thereon. In the illustrated                Other microporous channel configurations may be used
embodiment, heat spreader plate 102 includes a protrusion at           alternatively to, or together with, microchannels. Such as for
region 102b that controls the positioning of the heat spreader         example, a series of pillars, fins, or undulations, etc. which
plate relative to the heat source, but such a protrusion need          extend upwards from the heat spreader plate upper Surface
not be included. Heat spreader plate 102 may include a            10   or tortuous channels as formed by a foam or sintered Surface.
portion of more conductive material to facilitate and control             Fluid heat exchanger 100 further includes a fluid inlet
heat transfer, if desired. In any event, heat spreader plate is        passage 104, which in the illustrated embodiment includes a
formed to fit over and thermally communicate with a heat               port 111 through the housing opening to a header 112 and
source in a region 102b, usually located centrally relative to         thereafter a fluid inlet opening 114 to the microporous fluid
the edges of the heat spreader plate.                             15   channels 103.
   Microchannels 103 are formed to accept and allow pas                   The port and the header can be formed in various ways
sage therethrough of the flow of heat exchanging fluid Such            and configurations. For example, port 111 may be positioned
that the fluid can move along heat spreader plate 102 and              on top, as shown, side or end regions of the heat exchanger,
walls 110 and accept and dissipate heat energy from them.              as desired. Port 111 and header 112 are generally of a larger
In the illustrated embodiment, microchannels 103 are                   cross sectional area than opening 114. So that a mass flow of
defined by walls 110 that are thermally coupled to the heat            fluid can be communicated substantially without restriction
spreader plate to accept thermal energy therefrom. For                 to opening 114.
example, heat spreader plate 102 may include an inner                     Although only a single fluid inlet opening 114 is shown,
facing, upper Surface 102a and a plurality of microchannel             there may be one or more fluid inlet openings providing
walls 110 may extend upwardly therefrom, whereby the              25   communication from the header to the fluid microchannels
channel area, defined between upper surface 102a and the               103.
microchannel walls 110, channels or directs fluid to create a             Fluid inlet opening 114 may open to microchannels 103
fluid flow path. The channel area may be open or filled with           opposite the heat spreader plate Such that fluid passing
thermally conductive porous material Such as metal or                  through the opening may pass between walls 110 toward
silicon foam, sintered metal, etc. Thermally conductive,          30   surface 102a, before being diverted along the axial length of
porous materials allow flow through the channels but create            the channels, which extend parallel to axis X. Since most
a tortuous flow path.                                                  installations will position the heat spreader plate as the
  Surface 102a and microchannel walls 110 allow the fluid              lowermost, as determined by gravity, component of heat
to undergo exchange of thermal energy from the heat                    exchanger 100, the fluid inlet openings 114 can generally be
spreader plate to cool the heat source coupled to the heat        35   described as being positioned above the microchannels 103
spreader plate. The upper surface 102a and walls 110 have              such that fluid may flow through opening 114 down into the
a high thermal conductivity to allow heat transfer from the            channels in a direction orthogonal relative to the plane of
heat source 107 to fluid passing through channels 103. The             surface 102a and towards surface 102a and then change
surfaces forming channels 103 may be smooth and solid,                 direction to pass along the lengths of channels 103 Substan
formed with a porous structure, such as of sintered metal         40   tially parallel to surface 102a and axis X. Such direction
and/or metal or silicon foam or roughened, for example,                change is driven by impingement of fluid against Surface
including troughs and/or crests designed to collect or repel           102a.
fluid from a particular location or to create selected fluid              Fluid inlet opening 114 may be positioned adjacent to the
flow properties. Facing microchannel walls 110 may be                  known intended heat generating component contact region
configured in a parallel configuration, as shown, or may be       45   102b since this region of the heat spreader plate may be
formed otherwise, provided fluid can flow between the                  exposed to greater inputs of thermal energy than other
microchannel walls 110 along a fluid path. It will be appar            regions on plate 102. Positioning the fluid inlet opening
ent to one skilled in the art that the microchannel walls 110          adjacent region 102b seeks to introduce fresh heat exchang
may be alternatively configured in any other appropriate               ing fluid first and directly to the hottest region of the heat
configuration depending on various factors of desired flow,       50   exchanger. The position, arrangement and/or dimensions of
thermal exchange, etc. For instance, grooves may be formed             opening 114 may be determined with consideration of the
between sections of microchannel walls 110. Generally,                 position of region 102b Such that opening 114 may be placed
microchannel walls 110 may desirably have dimensions and               adjacent, for example orthogonally opposite to, or according
properties which seek to reduce or possibly minimize the               to the usual mounting configuration above, the intended heat
pressure drop or differential of fluid flowing through the        55   generating component contact region 102b on the heat plate.
channels 103 defined therebetween.                                     The delivery of fresh fluid first to the region that is in direct
   The microchannel walls 110 may have a width dimension               communication with the heat generating component to be
within the range of 20 microns to 1 millimeter and a height            cooled seeks to create a uniform temperature at the contact
dimension within the range of 100 microns to five millime              region as well as areas in the heat spreader plate away from
ters, depending on the power of the heat source 107, desired      60   the contact region.
cooling effect, etc. The microchannel walls 110 may have a                In the illustrated embodiment, opening 114 is positioned
length dimension which ranges between 100 microns and                  to have its geometric center aligned over the center, for
several centimeters, depending on the dimensions of and the            example the geometric center, of region 102b. It is noted that
heat flux density from, the heat source. In one embodiment,            it may facilitate construction and installation by intending,
the walls 110 extend the full length (which may be a width)       65   and possibly forming, the heat sink spreader plate to be
dimension of the heat spreader plate passing fully through             installed with the heat generating component positioned on
region 102b. These are exemplary dimensions and, of                    the plate substantially centrally, with respect to the plates
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perimeter edges, and then opening 114 may be positioned                 Substantially continuously along the length of the heat plate
also with its geometric center substantially centrally with             between opposing side perimeter edges thereof, opening 114
respect to the perimeter edges of the heat spreader plate. In           opens generally centrally between ends 103a of each chan
this way, the geometric center points of each of opening 114,           nel. For example, opening 114 may be positioned in the
the heat spreader plate and the heat generating component          5    middle 50% of the heat exchanger or possibly the middle
may all be substantially aligned, as at C.                              20% of the heat exchanger. The delivery of fresh fluid to the
   Opening 114 may extend over any channel 103 through                  central region where the heat generating component is in
which it is desired that heat exchange fluid flows. Openings            direct communication with the heat spreader plate, first
114 may take various forms including, for example, various              before passing through the remaining lengths of channels
shapes, various widths, straight or curved edges (in plane or      10   seeks to create a uniform temperature at region 102b as well
in section) to provide fluid flow features, open area, etc., as         as areas in the heat spreader plate adjacent to the intended
desired.                                                                mounting position. The introduction of fluid to a region
  Heat exchanger 100 further includes a fluid outlet passage            along a middle region of the microchannels after which the
106, which in the illustrated embodiment includes one or                flow splits into two sub flows to pass outwardly from the
more fluid outlet openings 124 from the microporous fluid          15   inlet towards a pair of outlets, each of which is positioned at
channels 103, a header 126 and an outlet port 128 opening               the ends of the channels reduces the pressure drop of fluid
from the housing. Although two fluid outlet openings 124                passing along the channels over that pressure drop that
are shown, there may be one or more fluid outlet openings               would be created if the fluid passed along the entire length
providing communication to the header from the fluid chan               of each channel. Splitting the fluid flow to allow only
nels 103.                                                               approximately one half of the mass inlet flow to pass along
  The port and the header can be formed in various ways                 any particular region of the microchannels creates less back
and configurations. For example, port 128 may be positioned             pressure and less flow resistance, allows faster fluid flow
on top, as shown, side or end regions of the heat exchanger,            through the channels and lessens the pump force required to
as desired.                                                             move the fluid through the heat exchanger.
   Fluid outlet openings 124 may be positioned at the end of       25      In use, heat spreader plate 102 is positioned in thermal
microchannels 103. Alternately or in addition, as shown,                communication with heat source 107 at region 102b. Heat
fluid outlet openings 124 may create an opening opposite                generated by heat source 107 is conducted up through heat
heat spreader plate 102 such that fluid passing through the             spreader plate 102 to surface 102a and walls 110. Heat
channels pass axially along the length of the channels                  exchanging fluid, as shown by arrows F, enters the fluid heat
between walls 110 and then changes direction to pass away          30   exchanger through port 111, passes into the header 112 and
from surface 102a out from between the walls 110 to exit                through opening 114. The heat exchanging fluid then passes
through openings 124. Since most installations will position            down between walls 110 into channels 103, where the fluid
the heat spreader plate as the lowermost, as determined by              accepts thermal energy from the walls 110 and surface 102a.
gravity, component of heat exchanger 100, the fluid outlet              The heat exchanging fluid, after passing down into the
openings 124 will generally be positioned above the micro          35   channels, then impinges against Surface 102a to be diverted
channels 103 such that fluid may flow from the channels                 toward ends 103a of the channels toward outlet openings
upwardly through openings 124.                                          124. In so doing, in the illustrated embodiment, the fluid is
   Fluid outlet openings 124 may be spaced from fluid inlet             generally split into two subflows moving away from each
openings 114 so that fluid is forced to pass through at least           other and away from inlet 114 toward openings 124 at the
a portion of the length of channels 103 where heat exchange        40   ends of the microchannels. Fluid passing through channels
occurs before exiting the microchannels. Generally, fluid               becomes heated, especially when passing over the region in
outlet openings 124 may be spaced from the known intended               direct contact with the heat Source. Such as, in the illustrated
heat generating component contact region 102b.                          embodiment, the central region of the heat spreader plate.
   In the illustrated embodiment, where heat exchanger 100              Heated fluid passes out of openings 124, into header and
is intended to be mounted with heat source 107 generally           45   thereafter through port 128. The heated fluid will circulate
centrally positioned relative to the perimeter edges of heat            through a heat sink where its thermal energy is unloaded
spreader plate 102, and thereby the ends 103a of channels,              before circulating back to port 111.
openings 124 may be positioned at or adjacent channel ends                 The individual and relative positioning and sizing of
103.                                                                    openings 114 and 124 may allow fluid to circulate through
   At least one opening 124 extends over any channel 103           50   the heat exchanging channels 103 while reducing the pres
through which it is desired that heat exchange fluid flows.             Sure drop generated in fluid passing through heat exchanger
Openings 124 may take various forms including, for                      100, when compared to other positionings and sizings. In the
example, various shapes, various widths, straight or curved             illustrated embodiment, for example, the central region 124a
edges (in plane or in section) to provide fluid flow features,          of outlet openings 124 are scalloped to offer an enlarged
open area, etc. as desired.                                        55   outlet region from the centrally located channels, relative to
   Fluid inlet opening 114 may open away from the ends of               those on the edges. This shaping provides that the outlet
the microchannels, for example along a length of a micro                openings from Some centrally positioned channels 103.
channel between its ends. In this way, fluid is introduced to           relative to the sides of the heat exchanger, are larger than the
a middle region of a continuous channel 103 rather than fluid           outlet openings from other channels closer to the edges. This
being introduced to one end of a channel and allowing it to        60   provides that fluid flowing through the more centrally
flow the entire length of the channel. In the illustrated               located channels encounters less resistance to flow there
embodiment, heat exchanger 100 is intended to be mounted                through, again facilitating flow past the central mounting
with heat source 107 generally centrally positioned relative            region 102b on heat spreader plate 102.
to the perimeter edges of heat spreader plate 102. As such,                A seal 130 separates fluid inlet passage 104 from fluid
in the illustrated embodiment, opening 114 is positioned           65   outlet passage 106 So that fluid must pass through the
generally centrally relative to the edges of the heat plate 102.        microporous channels 103 past heat spreader plate surface
Since the channels, in the illustrated embodiment extend                102a.
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  With reference to FIGS. 4 and 5, a useful method for                        flow path from each of the microchannel first ends is
manufacturing a fluid heat exchanger is described. A heat                     positioned laterally outward of the plate relative to the
spreader plate 202 may be provided which has heat conduc                      inlet flow path to the respective microchannel, wherein
tive properties through its thickness at least about a central                the plurality of spaced-apart walls comprises a first
region thereof.                                                               outermost wall and a second outermost wall spaced
   Microchannels may be formed on the surface of the heat                     apart from and opposite the first outermost wall relative
spreader plate, as by adding walls or forming walls by                        to the plurality of microchannels, wherein the outlet
building up or removing materials from the Surface of the                     flow path from a centrally positioned microchannel first
heat plate. In one embodiment, skiving is used to form walls                  end positioned between the first outermost wall and the
210.                                                             10
   A plate 240 may be installed over the walls 210 to close                   second outermost wall is larger than the outlet flow path
off the channels across the upper limits of walls 210. Plate                  from another microchannel first end positioned adja
240 has portions removed to create inlet and outlet openings                  cent the first outermost wall, the second outermost wall,
214 and 224, respectively, in the final heat exchanger. Tabs                  or both;
242 may be used to assist with the positioning and instal        15      a housing positioned over and spaced apart from the plate,
lation of plate 240, wherein tabs 242 are bent down over the                wherein the housing has an inlet port and an outlet port
two outermost walls.                                                        spaced apart from each other, wherein the inlet port is
   Seal 230 may be installed as a portion of plate 240 or                   in fluid communication with each respective inlet flow
separately.                                                                 path and the outlet port is in fluid communication with
   After plate 240 and seal 230 are positioned, a top cap 244               each respective outlet flow path from the microchannel
can be installed over the assembly. Top cap 244 can include                   first ends; and
side walls that extend down to a position adjacent heat                  a seal extending between the housing and the plate and
spreader plate.                                                             separating the inlet flow path to each of the microchan
   The parts may be connected during assembly thereof or                    nels from the outlet flow path from each of the micro
afterward by overall fusing techniques. In so doing, the parts   25         channel first ends, wherein each respective inlet flow
are connected so that short circuiting from inlet passage to                path is split generally into two Subflow paths, wherein
outlet passage is substantially avoided, setting up the fluid               one of the subflow paths extends outwardly toward the
circuit as described herein above wherein the fluid flows                   corresponding microchannel first end and passes out
from opening 214 to openings 224 through the channels                       wardly of the plate along the outlet flow path from the
defined between walls 210.                                       30         respective microchannel first end.
   The previous description of the disclosed embodiments is              2. A fluid heat exchanger according to claim 1, wherein
provided to enable any person skilled in the art to make or           the other of the two subflow paths extends outwardly toward
use the present invention. Various modifications to those             the corresponding microchannel second end.
embodiments will be readily apparent to those skilled in the             3. A fluid heat exchanger according to claim 1, wherein
art, and the generic principles defined herein may be applied    35   the two subflow paths are directed away from each other.
to other embodiments without departing from the spirit or                4. A fluid heat exchanger according to claim 1, further
Scope of the invention. Thus, the present invention is not            comprising a spreader plate, wherein the plurality of spaced
intended to be limited to the embodiments shown herein, but           apart walls extends upwardly of the spreader plate, wherein
is to be accorded the full scope consistent with the claims,          the housing contacts the spreader plate.
wherein reference to an element in the singular, such as by      40      5. A fluid heat exchanger according to claim 4, wherein
use of the article “a” or “an is not intended to mean “one            the spreader plate is thermally coupled with each of the
and only one' unless specifically so stated, but rather "one          plurality of spaced-apart walls and wherein a portion of one
or more'. All structural and functional equivalents to the            or more of the outlet flow paths extends between the plate
elements of the various embodiments described throughout              positioned over the plurality of walls and the housing before
the disclosure that are know or later come to be known to        45   the respective one or more flow paths pass through the outlet
those of ordinary skill in the art are intended to be encom           port.
passed by the elements of the claims. Moreover, nothing                  6. A fluid heat exchanger according to claim 1, wherein
disclosed herein is intended to be dedicated to the public            the plurality of spaced-apart walls are substantially parallel
regardless of whether such disclosure is explicitly recited in        to each other.
the claims. No claim element is to be construed under the        50     7. A fluid heat exchanger according to claim 1, wherein
provisions of 35 USC 112, sixth paragraph, unless the                 each of the spaced-apart walls has a width dimension within
element is expressly recited using the phrase “means for or           the range of 20 microns to 1 millimeter and a height
“step for.                                                            dimension within the range of 100 microns to five millime
  I claim:                                                            ters.
   1. A fluid heat exchanger for cooling an electronic device,   55     8. A fluid heat exchanger according to claim 1, wherein
the heat exchanger comprising:                                        each of the walls is separated from an adjacent wall by a
  a plurality of spaced-apart walls defining a corresponding          separation dimension within the range of 20 microns to 1
      plurality of microchannels having respective first ends         millimeter.
       and second ends;                                                  9. A fluid heat exchanger according to claim 1, wherein
  a plate positioned over the plurality of walls and partially   60   the outlet port is positioned adjacent a distal end of the
     closing off the plurality of microchannels;                      elongate inlet opening.
  an elongate inlet opening in fluid communication with                  10. A fluid heat exchanger according to claim 1, wherein
     each of the microchannels, wherein an inlet flow path            the plate closing off the plurality of microchannels extends
     to each respective microchannel is positioned between            between the elongate inlet opening and the microchannel
     the respective first ends and second ends;                  65   first ends, and a portion of one or more outlet flow paths
  an outlet opening in fluid communication with each of the           from the microchannel first ends extends between the plate
     microchannel first ends, wherein a corresponding outlet          closing off the plurality of microchannels and the housing.
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   11. A fluid heat exchanger according to claim 10, wherein              18. A fluid heat exchanger according to claim 15, wherein
the plate closing off the plurality of microchannels extends           the outlet flow path from a centrally located second end is
between the elongate inlet opening and the microchannel                larger than the outlet flow path from a second end spaced
second ends.                                                           apart from the centrally located second end.
   12. A fluid heat exchanger according to claim 1, wherein       5       19. A fluid heat exchanger according to claim 15, further
the plurality of spaced-apart walls comprises a first outer            comprising a spreader plate, wherein the plurality of walls
most wall and a second outermost wall spaced apart from the            extends upwardly of the spreader plate and the housing
first outermost wall, wherein the plate positioned over the            contacts the spreader plate.
plurality of walls comprises at least one bent tab extending              20. A fluid heat exchanger according to claim 19, wherein
over the first outermost wall and arranged to position the        10
                                                                       the spreader plate is thermally coupled with each of the
plate relative to the plurality of walls.                              plurality of walls.
   13. A fluid heat exchanger according to claim 12, wherein              21. A fluid heat exchanger according to claim 15, wherein
the at least one bent tab comprises a first bent tab, where the        the plurality of walls are substantially parallel to each other.
plate further comprises a second bent tab extending over the
second outermost wall.                                            15      22. A fluid heat exchanger according to claim 15, wherein
   14. A fluid heat exchanger according to claim 1, wherein            each of the walls has a width dimension within the range of
the seal is a portion of the plate.                                    20 microns to 1 millimeter and a height dimension within the
   15. A fluid heat exchanger for cooling an electronic                range of 100 microns to five millimeters.
device, the heat exchanger comprising:                                    23. A fluid heat exchanger according to claim 15, wherein
  a plurality of walls defining a corresponding plurality of           each of the walls is separated from an adjacent wall by a
     microchannels extending from respective first ends to             separation dimension within the range of 20 microns to 1
     respective second ends;                                           millimeter.
  an elongate inlet opening to the microchannels and defin                24. A fluid heat exchanger according to claim 15, wherein
     ing an inlet flow path to each respective microchannel            at least one of the outlet flow paths extends over the plate
     at a position between the respective first ends and the      25   defining the elongate inlet manifold and between the plate
     respective second ends;                                           defining the elongate inlet manifold and the housing.
  a plate positioned over the plurality of walls to close off             25. A fluid heat exchanger according to claim 19, wherein
     the plurality of microchannels between each respective            the inlet flow path to each respective microchannel is
     elongate inlet flow path and a corresponding outlet flow          positioned opposite the spreader plate.
     path positioned outward of the plate and extending           30      26. A fluid heat exchanger according to claim 15, wherein
     from the respective microchannel adjacent the corre               the inlet flow path to each respective microchannel is
      sponding first end, and wherein the plate is positioned          positioned generally centrally between the corresponding
     over the plurality of walls to close off the plurality of         ends of the respective microchannels.
     microchannels between each respective inlet flow path                27. A fluid heat exchanger according to claim 15, wherein
     and a corresponding opposed outlet flow path posi            35   the plurality of spaced-apart walls comprises a first outer
     tioned outward of the plate and extending from the                most wall and a second outermost wall spaced apart from the
     respective microchannel adjacent the corresponding                first outermost wall, wherein the plate positioned over the
     second end;                                                       plurality of walls comprises a bent tab extending over the
  a housing positioned over and spaced apart from the plate,           first outermost wall and arranged to position the plate
     wherein the housing has an inlet port and an outlet port     40   relative to the plurality of walls.
     spaced apart from each other; and                                    28. A fluid heat exchanger according to claim 15, wherein
  a seal extending between the housing and the plate and               the seal is a portion of the plate.
     separating the inlet flow path to each respective micro              29. A fluid heat exchanger for cooling an electronic
     channel from both corresponding outlet flow paths                 device, the heat exchanger comprising:
     from the respective microchannel, wherein each               45      a plurality of walls defining a corresponding plurality of
     respective inlet each respective flow path splits gener                 microchannels extending between respective first ends
     ally into two subflow paths after entering the corre                    and second ends, wherein the plurality of walls com
     sponding microchannel, wherein one of the two Sub                       prises a first outermost wall and a second outermost
     flow paths extends outwardly toward the corresponding                  wall;
     microchannel first end and the other of the two subflow      50     a plate defining an elongate inlet aperture opening to the
     paths extends outwardly toward the corresponding                       microchannels at a position between the respective first
     microchannel second end, wherein the subflow path                      ends and second ends, wherein the plate is positioned
     toward the microchannel first end passes from the                      over the plurality of walls to close off the plurality of
     respective first end along the corresponding outlet flow               microchannels between the elongate inlet aperture and
     path e, wherein the outlet flow path from a centrally        55        an outlet opening from the microchannels adjacent the
     located first end is larger than the outlet flow path from             first ends, and between the elongate inlet aperture and
     a first end spaced apart from the centrally located first              an opposed outlet opening from the microchannels
     end.                                                                   adjacent the second ends, wherein the elongate inlet
   16. A fluid heat exchanger according to claim 15, wherein                aperture extends between a proximal end and a distal
the inlet port is positioned adjacent a proximal end of the       60        end, wherein the first outermost wall is positioned
elongate inlet opening to the microchannels and the outlet                  adjacent the proximal end of the elongate aperture and
port is positioned adjacent a distal end of the elongate inlet              wherein the second outermost wall is positioned adja
opening to the microchannels.                                               cent the distal end of the elongate aperture, wherein the
   17. A fluid heat exchanger according to claim 15, wherein                outlet opening adjacent the first ends and the opposed
at least one subflow path extending toward the correspond         65        outlet opening adjacent the second ends define Smaller
ing microchannel second end passes from the respective                      openings from the microchannels adjacent the first and
second end along the corresponding outlet flow path.                        the second outermost walls compared to openings from
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  a centrally located microchannel positioned between             adjacent the first ends and the opposed outlet opening
  the first and the second outermost walls;                       adjacent the second ends, wherein the subflow directed
a housing positioned over and spaced apart from the plate,        toward the outlet opening adjacent the microchannel
   wherein the housing has an inlet port in fluid commu           first ends passes from the first ends.
   nication with the inlet aperture and an outlet port in 5 30. A fluid heat exchanger according to claim 29, wherein
   fluid communication with the outlet opening adjacent the plate defines a first tabbent to extend down over the first
   the first ends and the opposed outlet opening adjacent outermost wall and a second tab bent to extend down over
   the second ends, wherein the inlet port and the outlet to the second outermost wall, wherein the tabs are configured
   port are spaced apart from each other, wherein the           align the plate relative to the plurality of walls, wherein
   housing includes a downwardly extending sidewall; 10 the subflow path directed toward the outlet opening adjacent
   and                                                       the microchannel second ends passes from the second ends.
a seal extending between the housing and the plate and the31.       A fluid heat exchanger according to claim 29, wherein
                                                                 outlet opening from the microchannels adjacent the first
   separating the inlet aperture from the outlet opening
   adjacent the first ends and the opposed outlet opening 15 ends  is coextensive with the first ends of the microchannels,
   adjacent the second ends, wherein a fluid flow from the and    wherein the outlet opening from the microchannels
   inlet port is in fluid communication with the elongate adjacent     the second ends is coextensive with the second ends
   inlet aperture opening to the plurality of microchannels of32.
                                                                the microchannels.
   and wherein an inlet flow to the microchannels is split the sealA fluid  heat exchanger according to claim 29, wherein
                                                                       is a portion of the plate.
   generally into two outwardly directed subflows in the
   microchannels toward the respective outlet opening
